       Case 1:19-cv-10335-LTS Document 46 Filed 07/01/19 Page 1 of 27



                        UNITED STATES DISTRICT COURT
                      FOR THE DISTRICT OF MASSACHUSETTS

                                        Civil Action No. 1:19-cv-10335-LTS

                                        Oral Argument Requested
In re Fidelity ERISA Fee Litigation




      DEFENDANTS’ MEMORANDUM IN SUPPORT OF THEIR MOTION TO
           DISMISS THE CONSOLIDATED AMENDED COMPLAINT
             Case 1:19-cv-10335-LTS Document 46 Filed 07/01/19 Page 2 of 27
                                                   TABLE OF CONTENTS

                                                                                                                                      Page

INTRODUCTION ......................................................................................................................... 1
BACKGROUND ........................................................................................................................... 2
          A.         Fidelity’s FundsNetwork and the Infrastructure Fee. ............................................ 2
          B.         Plaintiffs and the Plans........................................................................................... 4
          C.         Plaintiffs’ Claims. .................................................................................................. 4
LEGAL STANDARD.................................................................................................................... 5
ARGUMENT ................................................................................................................................. 6
I.        COUNTS I-IV FAIL AS A MATTER OF LAW BECAUSE FIDELITY OWES
          NO FIDUCIARY DUTY TO PLANS WHEN NEGOTIATING TO RECEIVE
          INFRASTRUCTURE FEES FROM MUTUAL FUND PROVIDERS. ........................... 7
          A.         Fidelity Was Not Acting as a Fiduciary When It Negotiated the
                     Infrastructure Fees Because Platform Providers Are Not Fiduciaries for
                     Purposes of Negotiating Their Own Compensation. ............................................. 9
          B.         Fidelity’s Control over the Universe of Funds Available on FundsNetwork
                     Does Not Make It an ERISA Fiduciary for Any Purpose, Let Alone for
                     Purposes of Negotiating Infrastructure Fees. ....................................................... 12
          C.         Fidelity’s Use of “Omnibus Accounts” Does Not Make It an ERISA
                     Fiduciary for Any Purpose, Let Alone for Purposes of Negotiating
                     Infrastructure Fees. .............................................................................................. 15
          D.         Plaintiffs’ Approach Would Be Detrimental to Retirement Savers. .................... 16
II.       EVEN IF FIDELITY COULD BE DEEMED A FIDUCIARY, PLAINTIFFS’
          PROHIBITED TRANSACTION CLAIMS STILL WOULD FAIL. .............................. 17
III.      PLAINTIFFS’ NON-FIDUCIARY CLAIM FAILS AS A MATTER OF LAW............ 18
CONCLUSION ............................................................................................................................ 20




                                                                   -i-
             Case 1:19-cv-10335-LTS Document 46 Filed 07/01/19 Page 3 of 27
                                               TABLE OF AUTHORITIES

                                                                                                                                Page(s)

Cases

Ashcroft v. Iqbal,
  556 U.S. 662 (2009) .............................................................................................................. 5, 12

Beddall v. State St. Bank & Tr. Co.,
  137 F.3d 12 (1st Cir. 1998) ......................................................................................................... 6

Central States, Se. & Sw. Areas Health & Welfare Fund v. Gerber Life Ins. Co.,
  771 F.3d 150 (2d Cir. 2014) ..................................................................................................... 19

Columbia Air Servs., Inc. v. Fid. Mgmt. Trust Co.,
  2008 WL 4457861 (D. Mass. 2008) ........................................................................................... 8

Danza v. Fid. Mgmt. Trust Co.,
  533 F. App’x 120 (3d Cir. 2013) ............................................................................................ 8, 9

Donovan v. Bierwirth,
  680 F.2d 263 (2d Cir. 1982) ..................................................................................................... 17

Dura Pharms., Inc. v. Broudo,
  544 U.S. 336 (2005) .................................................................................................................... 6

F.H. Krear & Co. v. Nineteen Named Trs.,
  810 F.2d 1250 (2d Cir. 1987) ..................................................................................................... 9

Fifth-Third Bancorp v. Dudenhoeffer,
  573 U.S. 409 (2014) .................................................................................................................... 6

Fleming v. Fid. Mgmt. Trust Co.,
  2017 WL 4225624 (D. Mass. Sept. 22, 2017) ................................................................... passim

Golden Star Inc. v. Mass Mut. Life Ins. Co.,
  22 F. Supp. 3d 72 (D. Mass. 2014) ........................................................................................... 13

Great-W. Life & Annuity Ins. Co. v. Knudson,
  534 U.S. 204 (2002) .................................................................................................................. 19

Haddock v. Nationwide Financial Services, Inc.,
  419 F. Supp. 2d 156 (D. Conn. 2006) ....................................................................................... 15

Hans v. Tharaldson,
  2011 WL 7179644 (D.N.D. Oct. 31, 2011) .............................................................................. 20

Harris Trust & Sav. Bank v. Salomon Smith Barney Inc.,
  530 U.S. 238 (2000) .................................................................................................................. 20



                                                                  - ii -
             Case 1:19-cv-10335-LTS Document 46 Filed 07/01/19 Page 4 of 27
                                               TABLE OF AUTHORITIES
                                                     (Continued)
                                                                                                                                Page(s)

Hecker v. Deere & Co.,
  556 F.3d 575 (7th Cir. 2009) ............................................................................................. passim

In re Fid. ERISA Float Litig.,
   829 F.3d 55 (1st Cir. 2016) ................................................................................................... 8, 18

Leber v. Citigroup, Inc.,
  2010 WL 935442 (S.D.N.Y. Mar. 16, 2010) ............................................................................ 18

Leimkuehler v. Am. United Life Ins. Co.,
  713 F.3d 905 (7th Cir. 2013) ............................................................................................. passim

Livick v. The Gillette Co.,
  524 F.3d 24 (1st Cir. 2008) ......................................................................................................... 8

Lockheed Corp. v. Spink,
  517 U.S. 882 (1996) .................................................................................................................. 20

McCaffree Fin. Corp. v. Principal Life Ins. Co.,
 811 F.3d 998 (8th Cir. 2016) ...................................................................................................... 9

NLRB v. Amax Coal Co.,
  453 U.S. 322 (1981) .................................................................................................................. 18

Pegram v. Herdrich,
  530 U.S. 211 (2000) .................................................................................................................... 7

Pension Benefit Guar. Corp. ex rel. St. Vincent Catholic Med. Ctrs. Ret. Plan v. Morgan
  Stanley Inv. Mgmt. Inc.,
  712 F.3d 705 (2d Cir. 2013) ....................................................................................................... 6

Renfro v. Unisys Corp.,
  671 F.3d 314 (3d Cir. 2011) ....................................................................................... 8, 9, 14, 16

Rozo v. Principal Life Ins. Co.,
  344 F. Supp. 3d 1025 (S.D. Iowa 2018) ................................................................................... 20

Santomenno v. John Hancock Life Ins. Co. (USA),
  768 F.3d 284 (3d Cir. 2014) ..................................................................................... 9, 10, 12, 13

Santomenno v. Transamerica Life Ins. Co.,
  883 F.3d 833 (9th Cir. 2018) ............................................................................................. passim

Scott v. Aon Hewitt Fin. Advisors, LLC,
  2018 WL 1384300 (N.D. Ill. Mar. 19, 2018)............................................................................ 11




                                                                  - iii -
             Case 1:19-cv-10335-LTS Document 46 Filed 07/01/19 Page 5 of 27
                                                TABLE OF AUTHORITIES
                                                      (Continued)
                                                                                                                                   Page(s)

Teets v. Great-W. Life & Annuity Ins. Co.,
  286 F. Supp. 3d 1192 (D. Colo. 2017) ...................................................................................... 20

Teets v. Great-W. Life & Annuity Ins. Co.,
  921 F.3d 1200 (10th Cir. 2019) ...................................................................................... 9, 16, 19

The Depot, Inc. v. Caring for Montanans, Inc.,
  915 F.3d 643 (9th Cir. 2019) .................................................................................................... 10

Wood v. Prudential Ret. Ins. & Annuity Co.,
 2016 WL 5940946 (D. Conn. Sept. 19, 2016) .......................................................................... 19

Statutes

29 U.S.C. § 1002(3) ........................................................................................................................ 5

29 U.S.C. § 1002(21)(A)....................................................................................................... 5, 8, 16

29 U.S.C. § 1101(b)(1) ................................................................................................................. 18

29 U.S.C. § 1104 ......................................................................................................................... 5, 7

29 U.S.C. § 1106(a) .............................................................................................................. 5, 7, 20

29 U.S.C. § 1106(b) .............................................................................................................. 5, 7, 17

29 U.S.C. § 1132(a)(3).................................................................................................................. 19

Other Authorities

Carmen Germaine, New Scrutiny on Platform Fees Raises Sub-TA Cost Questions,
  Ignites.com (Mar. 14, 2019), http://tinyurl.com/yxnqpbzz....................................................... 16

SEC Investor Bulletin: Mutual Fund Fees and Expenses (May 2014),
  https://www.sec.gov/files/ib_mutualfundfees.pdf .................................................................... 11




                                                                   - iv -
          Case 1:19-cv-10335-LTS Document 46 Filed 07/01/19 Page 6 of 27



                                           INTRODUCTION

        This case is about whether Fidelity1 is entitled to get paid for operating one of the largest

mutual fund “supermarkets” in the industry. Plaintiffs try to dress up their claims by repeatedly

referencing “secret payments” or “secret kickback payments.” But, at the end of the day, the

actual facts alleged in the Complaint establish nothing more than that Fidelity negotiated at arm’s

length a payment, which it calls an “infrastructure fee,” from certain mutual fund managers to

pay for the services required to make their funds available to investors on Fidelity’s

“FundsNetwork” investment platform. That some of the many different kinds of investors who

shop in this mutual fund “supermarket” are 401(k) plans and other ERISA-governed retirement

plans does not change the fact that Fidelity is absolutely entitled to negotiate and collect these

fees. Indeed, for purposes of this motion, this case is no different than the numerous prior

ERISA class actions brought against Fidelity in which plaintiffs have sought to hold Fidelity

accountable for collecting similar fees. See note 5, infra (citing cases). In all of those cases, and

in many similar cases brought against other service providers, courts have dismissed plaintiffs’

claims, holding that there was nothing unlawful about the payments received.

        The reason courts have reached this conclusion is simple: The provisions of ERISA

underlying plaintiffs’ claims allow private parties to recover only for breaches of fiduciary duties

(or “prohibited transactions,” which are per se fiduciary breaches). But where, as here, a

platform or service provider negotiates its own compensation with an arm’s length counterparty,

it is not acting as a fiduciary to the 401(k) plans it services, or to any other investor. Instead, it is

necessarily acting in its own interests. This is true irrespective of whether the fee is paid by the



1
 “Fidelity” as used in this memorandum refers to some or all of defendants FMR LLC; Fidelity Management &
Research Company; Fidelity Management Trust Company; Fidelity Brokerage Services LLC; National Financial
Services LLC; and Fidelity Investments Institutional Operations Company, Inc., and their affiliates.


                                                    -1-
           Case 1:19-cv-10335-LTS Document 46 Filed 07/01/19 Page 7 of 27



plans and other investors, or by a third party like the mutual fund managers here; and it is true

irrespective of whether the fee has been disclosed to the plans and other investors (although, in

this case, the Complaint concedes that the infrastructure fees were, in fact, disclosed2).

         This has to be the rule, because if service providers were deemed fiduciaries to 401(k)

plans when negotiating their compensation, they would be required to negotiate with the “best

interests” of the plans in mind, meaning that they could not charge the plans anything more than

cost, and that they would have to agree to credit to the plans any excess compensation received

from third parties. And, if that were the case, there would be no providers left in business.

         In short, because nothing in ERISA prevents Fidelity from acting in its own interests

when negotiating its compensation, plaintiffs’ claims all fail as a matter of law, and their

Complaint should be dismissed.

                                                BACKGROUND

         A.       Fidelity’s FundsNetwork and the Infrastructure Fee.

         FundsNetwork is among the largest “open architecture” investment platforms in the

industry, connecting hundreds of asset management companies offering a total of over 10,000

mutual funds with all Fidelity investors and trillions in assets. See https://www.fidelity.com/

mutual-funds/overview (quoted in CAC ¶ 4). The investors who purchase mutual funds on

FundsNetwork include individuals investing through personal brokerage accounts, individual

retirement accounts, or college savings plans; large institutional investors investing on behalf of




2
  See Consolidated Amended Complaint (“CAC”) ¶ 12 (citing two disclosures from Fidelity’s public website, one of
which is quoted as follows: “Fidelity may receive a fee from unaffiliated product providers to compensate Fidelity
for maintaining the infrastructure to accommodate unaffiliated products [and] [t]he fee is a fixed amount that
typically equates to less than 0.05% of a product provider’s assets in all retail, workplace, and intermediary channels
maintained by Fidelity, and does not vary based on a plan’s offering of an unaffiliated product supported by
Fidelity.”). If this case proceeded to discovery, the evidence would show that Fidelity sent this same disclosure to
more than 20,000 ERISA-governed plans.


                                                         -2-
         Case 1:19-cv-10335-LTS Document 46 Filed 07/01/19 Page 8 of 27



their own clients; and, relevant here, employer-sponsored retirement plans governed by ERISA,

for whom Fidelity serves as recordkeeper and trustee. See id.

       Maintaining FundsNetwork is expensive. In addition to the cost of developing and

maintaining a state-of-the-art investment platform, Fidelity also provides administrative services

to the mutual fund managers that participate in FundsNetwork—services that those companies

have to perform themselves when they sell their funds directly, rather than through a platform

like Fidelity’s. These services include, among other things, processing trades, tracking

individual account balances, and distributing shareholder communications. CAC ¶¶ 57-59, 99;

see, e.g., Leimkuehler v. Am. United Life Ins. Co., 713 F.3d 905, 909 (7th Cir. 2013) ( “the

mutual fund would be furnishing” additional services “if it were not for” the service provider).

In exchange for these services, Fidelity, like other platform providers, receives various forms of

compensation from the mutual fund managers. One common form of compensation is “revenue

sharing,” through which fund companies pay the provider a small percentage of the amount that

plan investors have chosen to invest in the mutual fund managers’ funds through the provider’s

platform. Leimkuehler, 713 F.3d at 909. That revenue necessarily depends on and varies with

investors’ fund selections, and, as the Complaint concedes, it has substantially declined in recent

years, as investors have increasingly directed their assets towards lower-cost, passive investment

vehicles that do not provide revenue sharing to intermediaries like Fidelity. CAC ¶ 12.

       Plaintiffs allege that, to address this declining revenue, in 2017 Fidelity negotiated

“infrastructure fees” with mutual fund managers that offer funds on FundsNetwork. CAC ¶ 4.

According to the Complaint, for any given mutual fund manager, the infrastructure fee is a fixed

dollar payment negotiated with reference to the volume of assets under the mutual fund

company’s management, but is then offset by other revenue Fidelity receives from the fund



                                               -3-
           Case 1:19-cv-10335-LTS Document 46 Filed 07/01/19 Page 9 of 27



manager. CAC ¶ 7. For purposes of this motion only, Fidelity accepts that allegation as true.

         B.       Plaintiffs and the Plans.

         Plaintiffs are participants in several 401(k) and 403(b) retirement plans (the “Plans”)

offered by their employers (the “Plan Sponsors”). CAC ¶¶ 19-30. The Plan Sponsors hired

Fidelity to perform “recordkeeping” and other administrative services for the Plans under the

terms of certain Service Agreements. CAC ¶¶ 53, 54-55.3

         Pursuant to the Service Agreements, Fidelity also provides the Plans with access to the

wide range of investment options made available to investors through FundsNetwork. CAC ¶ 4.

From that broad menu of options, the Plan Sponsors—not Fidelity—select which investment

options are made available to the Plans’ participants. E.g., Ex. A Art. 8.01 (representative

agreement stating that Fidelity “shall have no responsibility for the selection of Permissible

Investments and shall not render investment advice to any person in connection with the

selection of such options”). Plan participants like plaintiffs then choose how to allocate their

retirement accounts into the investment options selected by the Plan Sponsors. CAC ¶ 59.

While Fidelity provides the Plan Sponsors and the Plans with access to the investment options

available on FundsNetwork, it bears no responsibility for the Plan Sponsors’ independent choice

of which of those investment options to offer in the Plans. See Ex. A Art. 8.01; Ex. B Art. II § 5.

         C.       Plaintiffs’ Claims.

         The Complaint contains five counts attacking Fidelity’s FundsNetwork infrastructure



3
  Plaintiffs allege in the Complaint that Fidelity enters into the same “standard form agreements with virtually all of
the plans.” CAC ¶ 54; see CAC ¶ 111 (class action allegations stating that plaintiffs’ claims “arise out of the same
uniform course of conduct by Defendants and arise under the same legal theories that are applicable as to all other
members of the Class.”). The Declaration of Brian D. Boyle In Support of Defendants’ Motion To Dismiss attaches
excerpts from an exemplary set of Service Agreements between Fidelity and one of plaintiffs’ plans. This Court
may properly consider the Service Agreements because they are referenced in the Complaint and integral to
plaintiffs’ claims. See CAC ¶¶ 54-56; infra at 6. All exhibit citations in this Memorandum refer to the exhibits
attached to the Declaration of Brian D. Boyle.


                                                         -4-
         Case 1:19-cv-10335-LTS Document 46 Filed 07/01/19 Page 10 of 27



fees. Counts I and II assert that Fidelity was a fiduciary to the Plans, and that it engaged in

“prohibited transactions” in violation of ERISA §§ 406(a), 406(b)(1)-(3) by negotiating the

payment of infrastructure fees from third-party mutual fund managers. CAC ¶¶ 117-38. Count

III asserts that Fidelity also breached its fiduciary duties of prudence and loyalty in violation of

ERISA § 404(a)(1)(A)-(B). CAC ¶¶ 140-43. Count IV asserts that all defendants are liable for

the above conduct as co-fiduciaries. CAC ¶¶ 144-46. Count V is the only count that does not

turn on whether Fidelity is an ERISA fiduciary in these circumstances; it asserts, in the

alternative, that Fidelity should be held liable as a “non-fiduciary” for knowingly participating in

another party’s fiduciary breach. CAC ¶ 148.

                                       LEGAL STANDARD

        ERISA is a federal statute that provides a comprehensive framework for the regulation of

employee retirement plans. 29 U.S.C. § 1002(3). ERISA imposes certain obligations on “plan

fiduciaries,” i.e., the persons who exercise authority over the management and administration of

a company’s retirement plan and its assets. Id. § 1002(21)(A). Specifically, ERISA § 404(a)

imposes a duty of loyalty, which requires a fiduciary to discharge its “duties with respect to a

plan solely in the interest of the participants and beneficiaries,” and a duty of prudence, which

requires plan fiduciaries to act with the prudence someone “acting in a like capacity and familiar

with such matters would use in the conduct of an enterprise of a like character and with like

aims.” Id. § 1104(a)(1)(A)-(B). In addition, ERISA § 406(a) and (b) prohibit plan fiduciaries

from causing ERISA plans to enter into certain “prohibited transactions” involving fiduciaries or

other parties having an interest in the plan. Id. § 1106(a)-(b).

        “To survive a motion to dismiss, a complaint must contain sufficient factual matter,

accepted as true, to state a claim to relief that is plausible on its face.” Ashcroft v. Iqbal, 556

U.S. 662, 678 (2009) (quotations omitted). The Supreme Court has made clear that motions to

                                                 -5-
        Case 1:19-cv-10335-LTS Document 46 Filed 07/01/19 Page 11 of 27



dismiss are an “important mechanism for weeding out meritless [ERISA] claims.” Fifth-Third

Bancorp v. Dudenhoeffer, 573 U.S. 409, 425 (2014). This is particularly true in cases like this

one, because “the prospect of discovery in a suit claiming breach of fiduciary duty is ominous,

potentially exposing the ERISA fiduciary to probing and costly inquiries and document

requests.” Pension Benefit Guar. Corp. ex rel. St. Vincent Catholic Med. Ctrs. Ret. Plan v.

Morgan Stanley Inv. Mgmt. Inc., 712 F.3d 705, 719 (2d Cir. 2013). As the Second Circuit has

observed, “[t]his burden, though sometimes appropriate, elevates the possibility that ‘a plaintiff

with a largely groundless claim [will] simply take up the time of a number of other people, with

the right to do so representing an in terrorem increment of the settlement value, rather than a

reasonably founded hope that the discovery process will reveal relevant evidence.’” Id. (quoting

Dura Pharms., Inc. v. Broudo, 544 U.S. 336, 347 (2005)). In order “to prevent [such] settlement

extortion,” courts presiding over ERISA cases like this one are careful to require that plaintiffs

plead actual facts—and not just mere conclusions—that give rise to a plausible claim for relief.

Id. (quotations omitted). In evaluating such claims, they will routinely consider plan- and fund-

related documents and disclosures that are relevant to plaintiffs’ claims, even if such documents

are not “explicit[ly] reference[d]” in or attached to the complaint. Beddall v. State St. Bank &

Tr. Co., 137 F.3d 12, 16-17 (1st Cir. 1998).

                                          ARGUMENT

        Were this case to proceed to discovery, the evidence would undercut virtually all of

plaintiffs’ allegations. For example, it would show:

   •   that infrastructure fees were not calculated in the manner plaintiffs allege and unilaterally
       imposed by Fidelity, but that they were heavily negotiated with the fund managers;

   •   that the infrastructure fees covered services that primarily benefitted the mutual fund
       managers, and not plans or other investors;

   •   that most of Fidelity’s customers who invest in funds sponsored by companies that pay

                                                -6-
          Case 1:19-cv-10335-LTS Document 46 Filed 07/01/19 Page 12 of 27



         infrastructure fees are retail or institutional customers, and not Fidelity-recordkept
         retirement plans like those on whose behalf plaintiffs purport to sue;

     •   that infrastructure fees were not necessarily paid for out of the mutual funds’ assets, but
         could be paid for out of the mutual fund managers’ general accounts; and

     •   that the infrastructure fees were not a “secret,” but rather disclosed to all investors.

         This case should not proceed to discovery, however, because even accepting plaintiffs’

false allegations as true, their claims fail as a matter of law. They fail because Fidelity does not

act as a fiduciary when it negotiates or receives infrastructure fees from mutual fund managers,

and they fail because plaintiffs have not pleaded any basis to recover from a non-fiduciary

platform provider like Fidelity.

I.       COUNTS I-IV FAIL AS A MATTER OF LAW BECAUSE FIDELITY OWES NO
         FIDUCIARY DUTY TO PLANS WHEN NEGOTIATING TO RECEIVE
         INFRASTRUCTURE FEES FROM MUTUAL FUND PROVIDERS.

         Sections 404 and 406 of ERISA impose liability only on a “fiduciary” to a plan, and only

for conduct undertaken in connection with his or her fiduciary duties. See 29 U.S.C. §§ 1104,

1106(a)-(b); Pegram v. Herdrich, 530 U.S. 211, 226 (2000). Thus, to establish their claims for

imprudence and disloyalty under ERISA § 404(a) and for “prohibited transactions” under ERISA

§ 406, plaintiffs must establish not only that Fidelity is an ERISA fiduciary to the plans, but also

that, in negotiating and collecting infrastructure fees from mutual fund managers, Fidelity was

“acting” in its fiduciary capacity. As the Supreme court has put it, in “every case charging

breach of ERISA fiduciary duty,” the “threshold question” is “whether that person was acting as

a fiduciary . . . when taking the action subject to complaint.” Pegram, 530 U.S. at 226 (emphasis

added). Because the facts alleged fail to meet this test, plaintiffs’ claims should be dismissed.

         As a matter of law, Fidelity can be deemed a fiduciary only if (and only to the extent) it

takes on “discretionary authority or discretionary control respecting management of [an ERISA-



                                                  -7-
          Case 1:19-cv-10335-LTS Document 46 Filed 07/01/19 Page 13 of 27



governed] plan” or “administration of such plan.” 29 U.S.C. § 1002(21)(A).4 But Fidelity, like

many recordkeepers, does not take on such a discretionary role, and is instead limited under the

terms of the governing contracts to acting exclusively at the direction of the Plan Sponsors. In

other words, the Plan Sponsors direct Fidelity as to what investments from FundsNetwork to

make available to Plan participants; Fidelity has no say in the matter. Supra at 4. Moreover,

while a trustee may be deemed a fiduciary to the extent it “exercises any authority or control

respecting management or disposition of [plan] assets,” 29 U.S.C. § 1002(21)(A), the Service

Agreements mandate that Fidelity “shall have no discretion or authority with respect to the

investment of” plan assets and will act only pursuant to the “written direction” of the Plan

sponsor or participants. Ex. A Art. 20.04. As the Third Circuit has explained in a similar case

against Fidelity, no fiduciary obligations arise from such an arrangement. Renfro v. Unisys

Corp., 671 F.3d 314, 323 (3d Cir. 2011).

         Plaintiffs’ Complaint posits several theories for why Fidelity’s negotiation of

infrastructure fees might give rise to fiduciary conduct. But, as in every prior ERISA class

action raising similar claims against plan service providers—including six cases against

Fidelity5—plaintiffs’ efforts ultimately fail.



4
 See also Livick v. The Gillette Co., 524 F.3d 24, 29 (1st Cir. 2008) (“[A] party not identified as a plan fiduciary can
become one if, but only to the extent that, he or she undertakes discretionary tasks related to the plan’s management
or administration.”).
5
  See In re Fid. ERISA Float Litig., 829 F.3d 55, 61-62 (1st Cir. 2016) (Fidelity not fiduciary because money paid
from mutual funds to withdrawing participants is not “plan asset”); Danza v. Fid. Mgmt. Trust Co., 533 F. App’x
120, 124 (3d Cir. 2013) (Fidelity not fiduciary in negotiating and receiving allegedly excessive fee for services from
plan sponsor); Renfro, 671 F.3d at 324 (Fidelity not fiduciary with respect to composition of plan’s investment
lineup because plan sponsor, not Fidelity, controlled that lineup); Hecker v. Deere & Co., 556 F.3d 575, 583 (7th
Cir. 2009) (Fidelity not liable as fiduciary for allegedly offering plan sponsor investment options with excessive fees
and costs); Fleming v. Fid. Mgmt. Trust Co., 2017 WL 4225624 (D. Mass. Sept. 22, 2017) (Fidelity not fiduciary
with respect to allegedly excessive fees negotiated with third-party investment advisor or for allegedly excessive
cost of investment options Fidelity offered on investment platform); Columbia Air Servs., Inc. v. Fid. Mgmt. Trust
Co., 2008 WL 4457861 (D. Mass. 2008) (Fidelity not fiduciary with respect to revenue sharing received from
Fidelity-owned mutual funds).


                                                         -8-
        Case 1:19-cv-10335-LTS Document 46 Filed 07/01/19 Page 14 of 27



       A.      Fidelity Was Not Acting as a Fiduciary When It Negotiated the
               Infrastructure Fees Because Platform Providers Are Not Fiduciaries for
               Purposes of Negotiating Their Own Compensation.

       Plaintiffs first contend that Fidelity is an ERISA fiduciary for purposes of the

infrastructure fees because of its “discretion in negotiating/establishing its own compensation by

and through its setting of the amount and receipt of the” infrastructure fee payments. CAC ¶ 8.

But courts have uniformly rejected the notion that a platform or other service provider acts as an

ERISA fiduciary when negotiating—as opposed to unilaterally dictating—its own compensation.

Teets v. Great-W. Life & Annuity Ins. Co., 921 F.3d 1200, 1213 (10th Cir. 2019) (“A service

provider . . . does not owe a fiduciary duty regarding its compensation when compensation is

fixed during an arm’s-length negotiation.”); Santomenno v. Transamerica Life Ins. Co., 883 F.3d

833, 838 (9th Cir. 2018) (“Transamerica”) (“A service provider is plainly not involved in plan

management when negotiating its prospective fees[.]”); McCaffree Fin. Corp. v. Principal Life

Ins. Co., 811 F.3d 998, 1003 (8th Cir. 2016) (“Principal did not owe plan participants a fiduciary

duty while negotiating the fee terms with McCaffree.”); Renfro, 671 F.3d at 324 (service

provider “owes no fiduciary duty with respect to the negotiation of its fee compensation”);

Santomenno v. John Hancock Life Ins. Co. (USA), 768 F.3d 284, 295 (3d Cir. 2014) (quoting

Renfro); Danza v. Fid. Mgmt. Trust Co., 533 F. App’x 120, 124 (3d Cir. 2013) (“[When] Fidelity

was negotiating its fees with [the plan sponsor], it was not a fiduciary of the plan.”); Hecker v.

Deere & Co., 556 F.3d 575, 583 (7th Cir. 2009) (“a service provider does not act as a fiduciary

with respect to the terms in the service agreement if it does not control the named fiduciary’s

negotiation and approval of those terms.”); F.H. Krear & Co. v. Nineteen Named Trs., 810 F.2d

1250, 1259 (2d Cir. 1987) (similar). This body of case law applies irrespective of whether the

compensation for which the provider is negotiating will be paid by the plan or by a third party, as

is the case here. Indeed, three of the circuit court cases cited above addressed fees paid by third-

                                                -9-
         Case 1:19-cv-10335-LTS Document 46 Filed 07/01/19 Page 15 of 27



party mutual funds, rather than by the plan. Hecker, 556 F.3d at 583; Transamerica, 883 F.3d at

839; Santomenno, 768 F.3d at 292.

        Plaintiffs’ allegation that the infrastructure fees were “secret” and undisclosed to

investors does nothing to distinguish this case law. As an initial matter, that conclusory

allegation is directly contradicted by the Complaint itself, which cites and quotes several public

disclosures about the infrastructure fees from Fidelity’s website. See supra at 2 & n.2. (And, if

this case were to proceed to discovery, the evidence would show that Fidelity sent this same

disclosure to fiduciaries for more than 20,000 ERISA-governed plans, including each of the

plaintiffs’ plans.) But even if Fidelity had not disclosed its infrastructure fees to investors, that

fact would be of no moment here. Courts have repeatedly held that a service provider does not

become a fiduciary for purposes of setting its compensation simply because that compensation

includes undisclosed payments from third-party mutual funds. Instead, the provider will

continue to be treated as a non-fiduciary so long as plan sponsors are aware of the “bottom line

cost of” available funds, and the plan sponsor remains free to select a different provider if the

sponsor believes the provider’s “investment options were too expensive.” Leimkuehler, 713 F.3d

at 912; see also id. at 910 (“Leimkuehler therefore knew how much each mutual fund cost,

though he did not know how those costs were allocated between the fund companies and [the

service provider]”); Hecker, 556 F.3d at 583-86 (holding Fidelity was not a fiduciary despite

alleged non-disclosure of revenue-sharing payments, because the “total fee, not the internal,

post-collection distribution of the fee, is the critical figure for someone interested in the cost of

including a certain investment in her portfolio”).6 Because the Complaint does not, and could



6
  See also The Depot, Inc. v. Caring for Montanans, Inc., 915 F.3d 643, 655 & n.6 (9th Cir. 2019) (holding that
insurance companies owed no fiduciary duty relating to alleged “hidden surcharges” because those surcharges were
encompassed in total premium amounts that “were fully disclosed, and plaintiffs always remained free to walk away

                                                     - 10 -
          Case 1:19-cv-10335-LTS Document 46 Filed 07/01/19 Page 16 of 27



not, allege either that plaintiffs’ Plan Sponsors were unaware of the “bottom line cost of” the

mutual funds in their Plan lineups,7 or that they could not have selected a different platform

provider if, in their view, FundsNetwork’s “investment options were too expensive,”

Leimkuehler, 713 F.3d at 912, whether or not the infrastructure fees were disclosed is irrelevant

to whether Fidelity can be held liable for a fiduciary breach.

         Indeed, Judge Burroughs recently dismissed a very similar complaint against Fidelity

raising allegations of undisclosed compensation from a third party: In Fleming v. Fidelity Mgmt.

Trust Co., 2017 WL 4225624 (D. Mass. Sept. 22, 2017), plaintiffs claimed that Fidelity acted as

a fiduciary when negotiating for allegedly excessive and undisclosed fees from Financial

Engines (“FE”), a third-party investment adviser hired by the plan.8 The court reasoned that,

given the well-settled law that service providers “are not acting in a fiduciary capacity when they

negotiate with plan sponsors for their own compensation,” “it is difficult to see how a service

provider could be an ERISA fiduciary when it negotiates a fixed rate of compensation from an

entity other than the Plan.” Id. at *7. The court did not even discuss plaintiffs’ allegation that

Fidelity’s compensation from FE was undisclosed to the plan, because it was irrelevant: Fidelity

did not control either the plan’s decision to hire FE or FE’s decision to agree to pay Fidelity a

certain rate of compensation, so Fidelity was not acting as a plan fiduciary when negotiating its

compensation from FE. Id.; see also Scott v. Aon Hewitt Fin. Advisors, LLC, 2018 WL 1384300,



and select another insurance company,” and “the fact that defendants did not disclose the composition of the
premiums . . . does not mean that defendants exercised discretion in setting them”).
7
 Here, the “bottom line cost” of each mutual fund, Leimkuehler, 713 F.3d at 912—also known as the mutual fund’s
“expense ratio”—must be disclosed in each fund’s prospectus, and plaintiffs do not, and could not, allege that the
Plan Sponsors were unaware of it. See, e.g., SEC Investor Bulletin: Mutual Fund Fees and Expenses (May 2014),
https://www.sec.gov/files/ib_mutualfundfees.pdf.
8
  See Fleming, Pltfs.’ Opp. to Mot. to Dismiss, at *15 n.7 (arguing “details of the compensation agreement between
Fidelity and” FE were not “disclosed to the Delta Plan”); id. at *16 (“Fidelity was a fiduciary in connection with the
retention of [FE] because [it] controlled that retention and the undisclosed compensation it received …”).


                                                        - 11 -
          Case 1:19-cv-10335-LTS Document 46 Filed 07/01/19 Page 17 of 27



at *5 (N.D. Ill. Mar. 19, 2018) (dismissing claim materially identical to claim in Fleming). The

same holds true here: Fidelity has negotiated to receive from third-party fund managers a fixed

and determined amount of compensation, in the form of infrastructure fees, and Fidelity has no

authority to unilaterally change that compensation. See CAC ¶¶ 5, 7.9 Accordingly, Fidelity is

not a fiduciary when it negotiates and receives such fees.10

         B.       Fidelity’s Control over the Universe of Funds Available on FundsNetwork
                  Does Not Make It an ERISA Fiduciary for Any Purpose, Let Alone for
                  Purposes of Negotiating Infrastructure Fees.

         Plaintiffs’ Complaint also suggests that Fidelity is an ERISA fiduciary because it has the

ability to add or delete mutual funds from the broad menu of more than 10,000 funds available

on FundsNetwork. See, e.g., CAC ¶¶ 69, 119. This time-worn theory of fiduciary status also

fails because, as numerous courts have held, having control over the menu of investment options

from which plan sponsors may choose their plan’s lineup does not transform a platform provider

into a functional fiduciary. Santomenno, 768 F.3d at 295, Leimkuehler, 713 F.3d at 911.

         Fidelity’s choice of which funds to make available to the Plans and other investors

through FundsNetwork is a quintessential “product design” decision that courts have uniformly




9
  In paragraph 12 of the Complaint, plaintiffs conclusorily allege that Fidelity “reserves the right to increase the
amount of the [infrastructure fee] payments and to impose them upon mutual funds at its discretion.” CAC ¶ 12; see
also CAC ¶ 75. But plaintiffs provide absolutely no concrete factual allegations to support this naked conclusion—
to the contrary, elsewhere in the Complaint plaintiffs repeatedly acknowledge, as common sense dictates, that
Fidelity “negotiates” with mutual fund managers for the infrastructure fee payments. CAC ¶¶ 8, 68, 83, 106; see
Iqbal, 556 U.S. at 679 (courts assessing motions to dismiss must draw on “judicial experience and common sense”).
10
  Plaintiffs dispute whether Fidelity’s disclosure of the infrastructure fees is sufficient to satisfy ERISA § 406(a)
and 29 C.F.R. § 2550-408b-2, which require plan service providers to disclose to plan sponsors all compensation
earned “in connection with” services provided to plans. See CAC ¶ 135. Fidelity maintains that the infrastructure
fees are not required to be disclosed under the 408b-2 regulation, because they are fixed-dollar fees received from
mutual fund managers in connection with the services Fidelity provides to those companies—they are not earned “in
connection with” the services that Fidelity provides to the plans. Nonetheless, as noted above, Fidelity has always
disclosed the infrastructure fees to its ERISA-governed plan clients. And, in any event, a service provider’s failure
to comply with 408(b)(2)’s disclosure requirements does not give rise to a private right of action for fiduciary
breach, where, as here, the provider is not acting as a fiduciary to the plans in negotiating or receiving the
undisclosed compensation. See supra at 4 (fiduciary status is an element of Counts I-IV).


                                                       - 12 -
         Case 1:19-cv-10335-LTS Document 46 Filed 07/01/19 Page 18 of 27



deemed non-fiduciary in nature. As the Seventh Circuit explained in Leimkuehler, “selecting

which funds will be included in a particular 401(k) investment product, without more, does not

give rise to fiduciary responsibility” if the plan fiduciary retains “the final say on which

investment options will be included” in the plan’s lineup. 713 F.3d at 911 (quotation omitted).

Several other courts have also addressed cases just like this one, where the defendant offers a

broad platform of investment options, from which plan sponsors can choose a smaller group of

options to make available in their plan. See Santomenno, 768 F.3d at 289 (“Notwithstanding

John Hancock’s authority over the construction of the Big Menu and its selection of share

classes, the trustees retained the responsibility for selecting investment options for inclusion in

the Small Menu and for offering to Participants.”); see also Leimkuehler, 713 F.3d at 912 (“[T]he

act of selecting both funds and their share classes for inclusion on a menu of investment options

offered to 401(k) plan customers does not transform [an investment provider] into a functional

fiduciary.”); Hecker, 556 F.3d at 583-84; Transamerica, 883 F.3d at 839. As these courts

explain, because the plan sponsor picks the “Small Menu” of investment options, and is also

“free to seek a better deal with a different 401(k) service provider” if it does not like the

provider’s “Big Menu” of investment options (or the fees associated with them), it is the plan

sponsor—and not the service provider—that bears fiduciary responsibility for the plan’s choice

of investments. Leimkuehler, 713 F.3d at 912; see Santomenno, 768 F.3d at 293-94; Hecker, 556

F.3d at 583; Transamerica, 883 F.3d at 839; Golden Star Inc. v. Mass Mut. Life Ins. Co., 22 F.

Supp. 3d 72, 83 (D. Mass. 2014).

       The same reasoning applies here: the Service Agreements confirm that the Plan

Sponsors—not Fidelity—retain sole responsibility for choosing which of the more than 10,000

investment options offered through FundsNetwork to include in the Plans’ investment lineups.



                                                - 13 -
          Case 1:19-cv-10335-LTS Document 46 Filed 07/01/19 Page 19 of 27



See Ex. A Art. 8.01 (Fidelity “shall have no responsibility for the selection of Permissible

Investments”); Ex. B Art. II § 5 (Fidelity Service Agreement confirming same). For this reason,

three courts have rejected similar efforts to label Fidelity a functional fiduciary. In Hecker, the

Seventh Circuit held that Fidelity’s role in deciding which options to offer on its platform did not

transform it into a functional fiduciary, so long as the plan fiduciaries “had ultimate authority

over the selection of funds” from the platform. 556 F.3d at 584. In Renfro, the court similarly

rejected a claim that Fidelity owed fiduciary duties with respect to the composition of a plan’s

investment lineup because the plan sponsor, not Fidelity, had the “contractual authority to

control the mix and range of investment options” offered in the plan. 671 F.3d at 323. And most

recently, in Fleming, the court rejected arguments that Fidelity was a fiduciary when it chose

which funds to include in a different platform called “BrokerageLink,” reasoning once again that

plan sponsors’ ultimate authority to decide whether or not to offer BrokerageLink to the plan

rendered them (and only them) the responsible fiduciaries. 2017 WL 4225624, at *5.

        Plaintiffs allege that Fidelity “maintains complete discretion to substitute, eliminate and

add mutual funds offered through its FundsNetwork” and that “Fidelity has exercised” that

discretion.” CAC ¶ 69.11 But those allegations do not distinguish Hecker, Renfro, Fleming, or

any of the other cases cited above, because Fidelity and other platform providers always have

general control of the broad menu of available investments. Notably, the Complaint does not

allege that Fidelity has ever removed any mutual fund from FundsNetwork that was included in

the investment lineup for any plan recordkept by Fidelity, let alone the eleven named plaintiffs’




11
  The public record makes clear that Fidelity does not, in fact, perform any significant curation of the investment
options available on FundsNetwork. To the contrary, in its 2013 decision in Leimkuehler, the Seventh Circuit noted
that, at that time there were “roughly 7,500 mutual funds currently available on the market,” 713 F.3d at 909, and,
only a few years later, Fidelity’s FundsNetwork offers more than 10,000 mutual funds to its customers. Supra at 2.


                                                      - 14 -
          Case 1:19-cv-10335-LTS Document 46 Filed 07/01/19 Page 20 of 27



Plans. Nor could plaintiffs have made such an allegation: the Service Agreements set forth the

specific investment options selected by the Plan Sponsors that Fidelity must make available to

the Plans, and Fidelity is prohibited from unilaterally amending those agreements (including the

investment options specified therein) unless such an amendment is required “to comply with then

current law, or to update services and procedures.” Ex. B Art. II § 12; see id. at p. 30 (similar).

In other words, while Fidelity may generally have discretion to decide whether to add, maintain

or remove a mutual fund from its FundsNetwork platform, Plaintiffs have not alleged (and could

not allege) any facts to suggest that Fidelity is free to exercise that discretion where a fund has

been selected by one or more Plan Sponsors for inclusion in their Plan’s investment lineup. And,

absent specific factual allegations that Fidelity could unilaterally remove or alter the investment

options actually offered in the Plans, this case is no different than Hecker, Renfro and Fleming.12

         C.       Fidelity’s Use of “Omnibus Accounts” Does Not Make It an ERISA
                  Fiduciary for Any Purpose, Let Alone for Purposes of Negotiating
                  Infrastructure Fees.

         Courts have squarely held that fees like the infrastructure fees, which are paid to Fidelity

by mutual funds or their managers, are not “plan assets.” See, e.g., Fleming, 2017 WL 4225624,

at *9 (“the fees that Defendants collect from the mutual funds . . . are not ‘assets of the plan”

within the meaning of ERISA.”); see also infra at 17-18. Nonetheless, the Complaint appears to

suggest that Fidelity can be deemed a fiduciary for purposes of the infrastructure fees because of



12
  Plaintiffs appear to have crafted their complaint to mirror, as much as possible, the allegations in Haddock v.
Nationwide Financial Services, Inc., 419 F. Supp. 2d 156 (D. Conn. 2006), an outlier decision finding that an
insurance company took on fiduciary status when designing its investment platform and product menu. Indeed,
plaintiffs go so far as to deploy specialized terms used in that opinion—such as “accumulation units,” e.g., CAC
¶ 58—that are unique to the insurance accounting context and have no applicability here. It is no matter. As the
Seventh Circuit has explained, Haddock turned on the fact that the service provider there “had the authority to delete
and substitute mutual funds from the plan without seeking approval from the named fiduciary.” Hecker, 556 F.3d at
584 (emphasis added); see also Fleming, 2017 WL 4225624, at *6 (distinguishing Haddock on the same basis). No
court has interpreted Haddock to suggest that fiduciary status can arise where, as here, the defendant has no
unilateral authority to change the investments chosen by the plan sponsor for a plan’s lineup.


                                                       - 15 -
            Case 1:19-cv-10335-LTS Document 46 Filed 07/01/19 Page 21 of 27



its “discretionary control” over the “management or disposition of [plan] assets.” 29 U.S.C.

§ 1002(21)(A). More specifically, plaintiffs allege that (1) Fidelity purportedly controls

“Omnibus Accounts” in which it deposits funds to be used to purchase mutual fund shares on the

plans’ behalf, see CAC ¶¶ 57-68; (2) the funds in these “Omnibus Accounts” (which plaintiffs

claim are divided into “accumulation units”13) are plan assets, CAC ¶ 59; and (3) Fidelity

breaches fiduciary duties to the Plans by delivering those “plan assets” to mutual funds in order

to secure infrastructure fee payments, CAC ¶ 66; see also id. ¶ 119.

           This argument fails, however, because plaintiffs do not (and could not) allege that

Fidelity fails to follow the instructions it receives from Plan Sponsors and participants about how

to invest their money. There is no allegation, for example, that Fidelity ignores the fund

selections made by Plan Sponsors or participants and, instead, improperly re-directs their

investments through these Omnibus Accounts to mutual funds managed by companies that pay

infrastructure fees. Where, as here, a “directed trustee” like Fidelity simply follows the

directions provided to it, it does not engage in fiduciary conduct. See Teets, 921 F.3d at 1213

(“Fiduciary status turns on whether the service provider can force plans or participants to accept

its choices about plan management or assets.”); Renfro, 671 F.3d at 323; see also supra at 8.

           D.       Plaintiffs’ Approach Would Be Detrimental to Retirement Savers.

           There are also compelling practical reasons to reject plaintiffs’ theories of fiduciary

status. As is clear from the public record, retirement plan service providers operate at

increasingly thin margins, and to continue in business they must negotiate arrangements that

allow them some amount of profit.14 If a fiduciary duty applied to compensation negotiations,



13
     See supra n.12 (noting that this inapposite term appears to be wrenched from the Haddock decision).
14
  Carmen Germaine, New Scrutiny on Platform Fees Raises Sub-TA Cost Questions, Ignites.com (Mar. 14, 2019),
http://tinyurl.com/yxnqpbzz (“[T]he question of who pays becomes more pressing as shares with stripped-down fee

                                                         - 16 -
          Case 1:19-cv-10335-LTS Document 46 Filed 07/01/19 Page 22 of 27



that profit motive would presumably violate ERISA, which prohibits plan fiduciaries from acting

other than in the exclusive interest of plan participants. See Donovan v. Bierwirth, 680 F.2d 263,

271 (2d Cir. 1982) (ERISA § 404(a)’s duty of loyalty requires a fiduciary to act “with an eye

single to the interests of the participants and beneficiaries” of a plan). In other words, if

plaintiffs’ view of fiduciary status were correct, then service providers like Fidelity could not

profit from the services they provide to plans: They could not charge the plans anything more

than cost; and they would have to agree to credit to the plans any excess compensation received

from third parties. And, if that were the case, there would be no service providers left in

business. Courts have rightly avoided such an “absurd result[].” Transamerica, 883 F.3d at 838.

                                                 *        *        *

         In short, Fidelity is not a fiduciary when negotiating and receiving infrastructure fees, and

plaintiffs’ fiduciary breach and prohibited transaction claims in Counts I-III, and Count IV for

co-fiduciary liability, therefore fail as a matter of law.

II.      EVEN IF FIDELITY COULD BE DEEMED A FIDUCIARY, PLAINTIFFS’
         PROHIBITED TRANSACTION CLAIMS STILL WOULD FAIL.

         Even assuming that Fidelity could be deemed a fiduciary with respect to negotiating

infrastructure fees (and it cannot), plaintiffs’ “prohibited transaction” claims under ERISA

§ 406(b)(1) and ERISA § 406(b)(2) would still require dismissal.

         First, plaintiffs’ claim under ERISA § 406(b)(1) would still fail because, as the

Complaint concedes, such a claim requires a showing that the fiduciary was “deal[ing] with the

assets of the plan in [its] own interest or for [its] own account.” 29 U.S.C. § 1106(b)(1); see




structures, such as institutional and R6 classes, dominate sales. Whereas with traditional retail share classes, 12b-1
fees and certain operational expenses paid to intermediaries were baked in to share prices, many ‘clean’ shares have
no such accommodation.”).


                                                        - 17 -
        Case 1:19-cv-10335-LTS Document 46 Filed 07/01/19 Page 23 of 27



CAC ¶ 123. But a mutual fund’s assets are not “plan assets” for purposes of ERISA. See 29

U.S.C. § 1101(b)(1) (“In the case of a plan which invests in any security issued by a [mutual

fund], the assets of such plan shall be deemed to include such security, but shall not, solely by

reason of such investment, be deemed to include any assets of such [mutual fund].”); In re Fid.

ERISA Float Litig., 829 F.3d 55, 61-62 (1st Cir. 2016) (same). Accordingly, where, as here,

plaintiffs have challenged the propriety of payments made by mutual funds to service providers,

courts have consistently held that such payments do not involve “plan assets,” and, thus, cannot

give rise to a claim under ERISA § 406(b)(1). See, e.g., Hecker, 556 F.3d at 584 (“The fees were

drawn from the assets of the mutual funds in question, which, as the statute provides, are not

assets of the Plans.”); Transamerica, 883 F.3d at 839 (same).

       Second, plaintiffs’ ERISA § 406(b)(2) claim would still fail because that claim requires a

showing that, in negotiating infrastructure fees, Fidelity was “acting on behalf of third parties

which have interests that are adverse to those of the Plans, their participants and/or beneficiaries

in connection with transactions involving the Plans.” CAC ¶ 124. Section 406(b)(2) is designed

to prevent a fiduciary “from being put into a position where he has dual loyalties, and therefore,

he cannot act exclusively for the benefit of a plan’s participants and beneficiaries.” NLRB v.

Amax Coal Co., 453 U.S. 322, 333-34 (1981). Here, plaintiffs do not identify any “third party”

whose interests Fidelity was seeking to promote when negotiating infrastructure fees. Nor could

they have done so, as Fidelity clearly was seeking to promote its own interests when negotiating

these fees from the mutual fund managers. Accordingly, Plaintiffs’ § 406(b)(2) claim should be

dismissed. See, e.g., Leber v. Citigroup, Inc., 2010 WL 935442, at *12 (S.D.N.Y. Mar. 16,

2010) (dismissing § 406(b)(2) claim for similar pleading failure).

III.   PLAINTIFFS’ NON-FIDUCIARY CLAIM FAILS AS A MATTER OF LAW.

       The Complaint alleges in a single conclusory paragraph (indeed, a single conclusory

                                               - 18 -
          Case 1:19-cv-10335-LTS Document 46 Filed 07/01/19 Page 24 of 27



sentence) that, in the event Fidelity is not deemed a fiduciary, the Court should hold it liable “for

all recoverable losses and relief as a party-in-interest or other non-fiduciary that knowingly

participated in prohibited transactions and breaches of fiduciary duty in violation of ERISA.”

CAC ¶ 148. This “non-fiduciary” claim fails for two reasons.

        First, the Supreme Court has made clear that, unlike claims against ERISA fiduciaries,

claims against non-fiduciaries may seek only “appropriate equitable relief.” 29 U.S.C.

§ 1132(a)(3); Great-W. Life & Annuity Ins. Co. v. Knudson, 534 U.S. 204, 209-10 (2002). Yet

plaintiffs seek “recoverable losses” in their non-fiduciary claim, CAC ¶ 148, and such monetary

damages “are, of course, the classic form of legal relief.” Knudson, 534 U.S. at 210 (quotations

omitted) (holding that suits seeking “to compel [a non-fiduciary] defendant to pay a sum of

money to the plaintiffs” are “[a]lmost invariably” inappropriate). Plaintiffs may recover

monetary relief on a claim for non-fiduciary liability only if the “money or property identified as

belonging in good conscience to the plaintiff could clearly be traced to particular funds or

property in the defendant’s possession.” Id. at 213; see Teets, 921 F.3d at 1223 (plaintiffs must

identify “a specific res from which they seek to recover”). Plaintiffs do not (and could not)

allege that such tracing is possible here. Instead, the Complaint confirms that plaintiffs are

seeking compensatory damages in an amount equal to the sum of money paid from the mutual

fund managers’ general accounts into Fidelity’s general accounts as infrastructure fees. E.g.,

CAC ¶ 18. Plaintiffs’ requested monetary remedies are therefore legal remedies barred under

ERISA § 502(a)(3).15



15
  See Wood v. Prudential Ret. Ins. & Annuity Co., 2016 WL 5940946, at *5 (D. Conn. Sept. 19, 2016) (dismissing
claim against non-fiduciary for disgorgement of “undisclosed, excessive, and unreasonable compensation” as
improper request for “legal relief”); Central States, Se. & Sw. Areas Health & Welfare Fund v. Gerber Life Ins. Co.,
771 F.3d 150, 154-55 (2d Cir. 2014) (dismissing “injunctive” claims for payment of money by a non-fiduciary,
because they were “legal [claims] for money damages even though they are covered by an equitable label”).


                                                       - 19 -
          Case 1:19-cv-10335-LTS Document 46 Filed 07/01/19 Page 25 of 27



         Second, plaintiffs’ non-fiduciary claim fails to comply with basic pleading requirements.

The Complaint does not identify who the allegedly breaching “fiduciary” is, let alone how that

fiduciary “caused” an ERISA violation, as required to state a claim under ERISA § 406(a). See

Fleming, 2017 WL 4225624, at *8. Nor could it have made such an allegation: The

infrastructure fee payments about which plaintiffs complain are negotiated between Fidelity and

third-party mutual fund managers and do not involve any Plan fiduciaries. Moreover, to

establish liability against a non-fiduciary for participation in an ERISA prohibited transaction,

the non-fiduciary “must be demonstrated to have had actual or constructive knowledge of the

circumstances that rendered the transaction unlawful.” Harris Trust & Sav. Bank v. Salomon

Smith Barney Inc., 530 U.S. 238, 251 (2000).16 Yet the Complaint contains no factual

allegations from which one could plausibly infer that Fidelity knowingly participated in any Plan

fiduciary’s ERISA violation. Indeed, the Complaint does not contain a single allegation that

Fidelity took any action despite knowing it was participating in another party’s breach of

ERISA.17 For each of these reasons, Count V should be dismissed.

                                                 CONCLUSION

         For the foregoing reasons, the Complaint should be dismissed with prejudice.




16
  In other words, plaintiffs must demonstrate that the non-fiduciary engaged in some transaction with knowledge
that the other party to the transaction was violating ERISA. See, e.g., Teets v. Great-W. Life & Annuity Ins. Co., 286
F. Supp. 3d 1192, 1208-09 (D. Colo. 2017) (non-fiduciary liability requires “not just knowledge of the underlying
facts, but knowledge of their potential unlawfulness,” meaning a plaintiff must show “defendant knew or should
have known that the transaction violated ERISA”); Rozo v. Principal Life Ins. Co., 344 F. Supp. 3d 1025, 1037-38
(S.D. Iowa 2018); Hans v. Tharaldson, 2011 WL 7179644, at *16 (D.N.D. Oct. 31, 2011).
17
   Further, plaintiffs have not, for example, alleged any facts demonstrating that Fidelity knowingly participated in a
transaction wherein a “fiduciary . . . cause[d] the plan to engage in a transaction,” and where that fiduciary “knows
or should know” that the transaction will constitute a “furnishing of goods, services, or facilities between the plan
and a party in interest” that is unsheltered by any ERISA exemption. 29 U.S.C. § 1106(a)(1)(C); Lockheed Corp. v.
Spink, 517 U.S. 882, 893 (1996) (Section 406(a)(1)(C) safeguards against “commercial bargains that present a
special risk of plan underfunding because they are struck with plan insiders, presumably not at arm’s length”).


                                                        - 20 -
        Case 1:19-cv-10335-LTS Document 46 Filed 07/01/19 Page 26 of 27



Dated: July 1, 2019           Respectfully submitted,



                                     /s/ Brian D. Boyle
                                     Gregory F. Jacob (pro hac vice)
                                     Brian D. Boyle (pro hac vice)
                                     Bradley N. Garcia (pro hac vice)
                                     O’MELVENY & MYERS LLP
                                     1625 Eye Street
                                     Washington, DC 20006
                                     Telephone:     (202) 383-5300
                                     Facsimile:     (202) 383-5414

                                     John J. Falvey (BBO# 542674)
                                     Goodwin Procter LLP
                                     100 Northern Avenue
                                     Boston, MA 02210
                                     Telephone:     (617) 570-1000
                                     Facsimile:     (617) 523-1231

                                     Attorneys for Defendants
        Case 1:19-cv-10335-LTS Document 46 Filed 07/01/19 Page 27 of 27



                                 CERTIFICATE OF SERVICE

       I hereby certify that this document filed through the ECF system will be sent

electronically to the registered participants as identified on the Notice of Electronic Filing (NEF)

and paper copies will be sent to those indicated as non-registered participants on July 1, 2019.

                                                   /s/ Brian D. Boyle
                                                   Brian D. Boyle (pro hac vice)
